                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                         Plaintiff,                )
                                                   )
       vs.                                         )      No. 18-03120-01-CR-S-BP
                                                   )
CHARLES D. KESSLER,                                )
                                                   )
                         Defendant.                )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Counts One and

Two of the Superseding Information filed on July 2, 2020, is now Accepted and the Defendant is

Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the Court.




                                                          /s/ Beth Phillips
                                                         BETH PHILLIPS
                                                   UNITED STATES DISTRICT JUDGE




Date: July 17, 2020




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